        Case 4:05-cr-00333-BAE Document 58 Filed 04/12/06 Page 1 of 2
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                                                                 SAVANNAH DIV .
                 UNITED STATES DISTRICT COURT
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                 SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA, )

            Plaintiff,

v.    )      Case                       No . CR405-333
ELIZABETH MONAS,                    )
            Defendant.


                  REPORT AND RECOMMENDATIO N

      Defendant Elizabeth Monas has filed a motion seeking the dismissal

of the indictment against her based upon an alleged violation of the Speedy

Trial Act and the Sixth Amendment .

      There is no merit to defendant's Sixth Amendment claim . Only four

months have elapsed since defendant's first appearance before the Court .

This Court is aware of no case that has found a violation of the Sixth

Amendment's speedy trial right on the basis of such a limited delay . Nor

has the defendant demonstrated any prejudice resulting from this brief

delay . The defendant's Sixth Amendment claim is without foundation .

      Nor has defendant shown a violation of the Speedy Trial Act, 18

U .S.C . § 3161 et sec ., . That Act provides that a defendant must be brought

to trial within seventy days after the filing of the indictment or defendant's

first appearance before the Court, whichever is later . 18 U.S.C . §

3161(c)(1) ; United States v . Davenport, 935 F .2d 1223, 1227 (11th Cir .
          Case 4:05-cr-00333-BAE Document 58 Filed 04/12/06 Page 2 of 2



1991) . Certain periods, however, are excluded from the seventy-day limit .

Specifically, the rule provides that any "delay resulting from any pretrial

motion, from the filing of the motion through the conclusion of the hearing

on, or other prompt disposition such motion" is excluded in computing time

within which a trial must commence . 18 U .S .C . § 3161(h)(1)(F) . A pretrial

motion relating to one defendant tolls the speedy trial clock for all co-

defendants. United States v . Twitty , 107 F.3d 1482, 1488 (11th Cir . 1997) ;

18 U.S .C. § 3161(h)(7) .

        The government is correct in stating that only some twenty-five of the

permitted seventy days have elapsed in this case. Accordingly, defendant's

motion to dismiss should be DENIED .
        SO REPORTED AND RECOMMENDED this day of April ,

2006.
                                               Z&Yja
                                           UNI T E MAGISTRATE JUDG E
                                           SOUTHERN DISTRICT OF GEORGIA




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